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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                       District of Delaware

                  United States of America                        )
                                                                                                                CJ'I
                               V.                                 )
                  LUIS ARIAS GARCIA,
                 a/k/a JOSE L. SALOME
                                                                  ~       CaseNo.
                                                                                    19
                                                                                         _   2CJa-H            N
                                                                                                                -u
                                                                                                               :x
                                                                                                                ..
               a/k/a ELI EZER ALVERADO,                           )
                                                                                                                0
                                                                  )                                             s::-
                                                                  )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  July 23, 2018                in the county of         New Castle           in the
                       District of          Delaware         , the defendant(s) violated:

            Code Section                                                    Offense Description
8 U.S.C. § 1326(b)(1)                         Illegal Reentry of Previously Removed Alien




         This criminal complaint is based on these facts:
See the attached Affidavit.




         'if Continued on the attached sheet.




Sworn to before me and signed in my presence.


Date:             07/15/2019



City and state:                     Wilmington, Delaware                      rv-t"'i:,--l~IOn      U.S. Magistrate Judge
                                                                         -------
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                         IN THE UNITED ST ATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA                               )
                                                       )
               V.                                      )       CRIM. ACT. NO. 19 -- - - -
                                                       )
LUIS ARIAS GARCIA,                                     )
a/k/a JOSE L. SALOME                                   )
a/k/a ELIEZER ALVERADO,                                )
                                                       )
                       Defendant.                      )



                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


       Your affiant, John Hanlon, being duly sworn, does depose and say:

        1. I am a Deportation Officer with the Department of Immigration & Customs Enforcement

("ICE"), a branch of the United States Department of Homeland Security ("DHS"), at the ICE office

located in Dover, Delaware. I have been employed by Immigration and Customs Enforcement since

January 2, 2007.

       2. This investigation is based upon information provided in DHS/ICE records, National

Crime Information Center ("NCIC") records, Federal Bureau of Investigation ("FBI") records, and

by my own observations, interviews, training and experience. Since this affidavit is only for

purposes of establishing probable cause for an arrest pursuant to Title 8, United States Code,

Sections 1326(b)(1 ), not all facts related to this investigation are contained herein.

       3. On or about July 23, 2018, the Howard R. Young Correctional Institution in Wilmington,

Delaware notified the ICE Dover office that a possible illegal alien was in their custody. ICE

database and NCIC record checks were conducted that indicated that the subject, Luis ARIAS

GARCIA, was a possible illegal alien from the Dominican Republic.
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       4. On or about July 23, 2018, Deportation Officers obtained the fingerprints of ARIAS

GARCIA at the Howard R. Young Correctional Institution in Wilmington, Delaware. Officers

queried the subject's fingerprints in ICE's automated database. The results of that query showed

that these fingerprints matched Alien #XXXXXX450. Officers also searched ARIAS GARCIA's

fingerprints in the FBI database. These fingerprints matched FBI# XXXXXXB7.

       5. No post-arrest statements were made in this investigation.

       6. Your affiant has reviewed DHS/ICE alien database records and ARIAS GARCIA's alien

file (XXXXXX450), which reflect the following:

       a. ARIAS GARCIA was born in the Dominican Republic.

       b. ARIAS GARCIA originally entered the United States on or about an unknown date, at

an unknown location without admission, inspection, or parole from an Immigration Official.

ARIAS GARCIA was encountered by Immigration Officers in 2006 while incarcerated in the

Massachusetts Department of Corrections. ARIAS GARCIA was issued a Notice to Appear

before an Immigration Judge.

       c. On May 15, 2006, an Immigration Judge in Boston, Massachusetts ordered ARIAS

GARCIA removed from the United States to the Dominican Republic. ARIAS GARCIA was

physically removed to the Dominican Republic on June 14, 2006.

       d. Immigration Officers encountered ARIAS GARCIA in October of 2006 in the

Massachusetts Department of Corrections after he had entered the United States without

admission, inspection or parole.

       e. ARIAS GARCIA was convicted in Middlesex County, Massachusetts for the offense of

Possession of a Controlled Substance with Intent to Distribute Cocaine, a crime punishable by

more than one year in prison.
                                                2
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       f. Subsequent to his conviction, ARIAS GARCIA was issued a Notice of Intent to

Reinstate a Prior Order of Removal on November 14, 2007. ARIAS GARCIA was physically

removed to the Dominican Republic on September 11, 2008.

       g. The records contain no indication that ARIAS GARCIA had obtained permission from

the United States government to re-enter the country.



       WHEREFORE, Your affiant avers that there is probable cause to believe that Luis ARIAS

GARCIA, a citizen and alien of the Dominican Republic, was found in the United States on July 23,

2018 after having been removed therefrom to the Dominican Republic twice, originally on June 14,

2006 and then on September 11, 2008 subsequent to a felony conviction and not having obtained

the express consent of the Secretary of Homeland Security to reapply for admission to the United

States in violation of Title 8, United States Code, Sections 1326(b)(l).




                                         John Hanlon
                                         Deportation     1cer
                                         United States Immigration & Customs Enforcement


Subscribed and sworn to
before me this 15th day of July, 2019




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